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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

                        Civil Case Number: 8:18-cv-01106-CEH-TGW

                                                  :
Sylvester Smith,                                  :
                                                  :
                       Plaintiff,                 :
       v.                                         :
                                                  :
DISH Network, LLC.                                :
                                                  :
                       Defendant.                 :
                                                  :
                                                  :

                                STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed in its entirety with prejudice and without costs to any party.

 Sylvester Smith                               DISH Network, LLC

 ___/s/ Tamra Givens                           _/s/ Eriz Zalud_______

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SO ORDERED
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                               CERTIFICATE OF SERVICE

        I hereby certify that on March 29, 2019, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court for the Middle
District of Florida Electronic Document Filing System (ECF), which sent notice of such filing to
the following:

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                                            By_/s/ Tamra Givens_________

                                                 Tamra Givens, Esq.
